                    Case 23-11069-CTG         Doc 903-2        Filed 10/23/23        Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    IN RE:                                                 Chapter 11

    YELLOW CORPORATION,                                    Case No. 23-11069 (CTG)

                            Debtors.1

                                                           Objection Deadline: November 6, 2023 at 4 p.m. (ET)
                                                           Hearing date: November 13, 2023 at 10 a.m. (ET)


                   NOTICE OF MOTION OF JAMES ALEXANDER AND LISA
                  ALEXANDER FOR RELIEF FROM THE AUTOMATIC STAY

         PLEASE TAKE NOTICE that on October 23, 2023, James Alexander and Lisa Alexander

(“Movants”) filed the Motion of James Alexander and Lisa Alexander for Relief from the Automatic

Stay (the “Motion”) with the United States Bankruptcy Court for the District of Delaware

which seeks relief from the automatic stay.

                PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be filed

    on or before November 6, 2023 at 4:00 p.m. (ET) (the “Objection Deadline”) with the United

    States Bankruptcy Court for the District of Delaware, 3rd Floor, 824 Market Street, Wilmington,

    Delaware 19801. At the same time, you must serve a copy of any objection upon Movants’

    undersigned counsel so as to be received on or before the Objection Deadline.

                PLEASE TAKE FURTHER NOTICE that a hearing on the Motion will be held on

    November 13, 2023 at 10:00 a.m. (ET) before the Honorable Craig T. Goldblatt in the United

    States Bankruptcy Court for the District of Delaware, 824 N. Market Street, 3rd Floor,

    Courtroom 7, Wilmington, Delaware 19801, if an objection is filed.




1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.
{C1288012.1 }
                     Case 23-11069-CTG          Doc 903-2     Filed 10/23/23      Page 2 of 2




            The hearing date specified above may be a preliminary hearing or may be consolidated

with the final hearing, as determined by the Court.

                The attorneys for the parties shall confer with respect to the issues raised by the Motion

  in advance for the purpose of determining whether a consent judgment may be entered and/or for

  the purpose of stipulating to relevant facts such as value of the property, and the extent and

  validity of any security interest.

                PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

  ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

  REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.



  Dated: October 23, 2023
  Wilmington, Delaware

                                                            CAMPBELL & LEVINE, LLC

                                                            /s/ Katherine L. Hemming
                                                            Katherine L. Hemming (No. 5496)
                                                            222 Delaware Ave, Suite 1620
                                                            Wilmington, DE 19801
                                                            (302) 426-1900
                                                            khemming@camlev.com


                                                              Counsel for Movants James and Lisa
                                                              Alexander




{C1288012.1 }
